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                          Discovery Steering Committee
                In re Google Digital Advertising Antitrust Litigation
                                                                                   August 30, 2024

VIA ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl St
New York, NY 10007-1312

                       In re Google Digital Advertising Antitrust Litigation
                            Case No. 1:21-md-03010 (PKC) (S.D.N.Y.)

Dear Judge Castel:

        We write on behalf MDL Plaintiffs in the above-captioned litigation. Plaintiffs
respectfully request a 21-day extension of the deadline to file their opening expert reports, a 32-
day extension of Google’s time for response, a 7-day extension of rebuttal report deadlines, and
corresponding extensions of the expert discovery schedule and motion deadlines that were set
forth in this Court’s order of July 10, 2024. ECF 858; see also ECF No. 394 ¶ 12; Individual
Practices in Civil Cases ¶ 1.C.ii. This Court has previously granted a request to extend expert
discovery deadlines. ECF 858. The parties have mutually agreed to these proposed schedule
modifications. Google does not oppose this request and intends to state its positions regarding
the proposed modifications in a separate filing on or before September 5, 2024. Plaintiffs
understand Google’s basis for the extension of deadlines for responsive reports to be based on
the number of reports being served by the Plaintiffs in the various constituent actions in the
MDL—fourteen anticipated spread across the 4 separate groups. No conference is scheduled at
this time.

        Good cause supports extensions of the deadlines for Plaintiffs’ opening and rebuttal
reports.

       Opening Report Extension

       First, Plaintiffs’ experts have been required to analyze voluminous data productions
made at the end of fact discovery. On June 28, 2024, the last day of fact discovery, Google
produced nearly 14 terabytes of compressed 1 structured data to MDL Plaintiffs. Analyzing this
volume of data imposes real and material challenges for Plaintiffs and their experts. For
instance, some large databases can take as much as two days to process before any analysis can
be completed. And each iterative analysis or manipulation of the data thereafter can take many


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 Once decompressed, compressed data can expand by several multiples, depending on the
underlying file types and characteristics of the dataset.
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hours of computing time. In other words, analysis of recently produced data productions can
proceed only so quickly given the volume of data involved.

        Further, on June 28, 2024, Google re-produced substantial structured data from third-
party Microsoft.2 The Microsoft dataset contained more than 166 million rows of data that
replaced data Microsoft had produced to MDL Plaintiffs pursuant to MDL Plaintiffs’ subpoena
in February 2024. Google had received this data in the Eastern District of Virginia Action on
September 7, 2023. Analysis of this large volume of late-produced data, particularly in
conjunction with the other voluminous third-party data productions is also time- and resource-
intensive.

        Second, document productions by Google and depositions of Google witnesses have
continued after the close of fact discovery, necessitating additional time for analysis and review.
Since June 28, and as recently as August 30, Google has responded to linked-document requests
made by Plaintiffs before the close of fact discovery for the purposes of expert analysis,
including by making new document productions. Google has also re-produced multiple sets of
third-party documents since the close of fact discovery, including on August 16, 2024, a
production made by Facebook, Inc., to the DOJ in 2020, which includes Facebook advertising
data that Plaintiffs’ experts must process and analyze in connection with their reports.

       Further, Plaintiffs have had to integrate and analyze testimony from multiple witnesses,
including 30(b)(6) designees on key buy- and sell-side issues, whose depositions were taken on
July 10 and 12. Rule 30(b)(6) designees for Inform-specific topics were made available for
depositions even later. And, as the Court is aware, Plaintiffs will soon depose a Google witness
whose declaration Google produced on July 11. See ECF 869.

        Finally, the parties continue to meet and confer regarding various issues that bear on
Plaintiffs’ expert reports, including Google’s RFA responses and certain amended RFA
responses served August 30, outstanding source code and linked document requests, and data
labeling and exchange procedures. Given these outstanding issues and the parties’ efforts to
resolve them cooperatively, a limited additional extension of time for service of opening expert
reports is warranted to permit Plaintiffs to incorporate such documents or responses into their
expert analyses.

       For the reasons set forth above, an extension of time to serve opening expert reports is
warranted.

         Rebuttal Report Extension

       If the Court adopts the extensions proposed for service of opening and responsive reports,
good cause would also support extension of rebuttal report deadlines. Absent a corresponding
extension, rebuttal reports would be due on January 10, shortly after New Years, Christmas, and
Hannukah. Certain of Plaintiffs’ experts and attorneys have family commitments over the

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    Microsoft is the owner of Xandr, an ad exchange, and is the successor-in-interest to AppNexus.
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holidays. A modest, 7-day extension will accommodate family and personal schedules during
the holidays while causing minimal disruption to the overall schedule in this litigation.

                                          *      *       *
        For the reasons set forth above, the requested extensions are warranted. Granting this
request would have a relatively minor impact on the overall progress of the action, extending the
expert discovery schedule and certain motion deadlines by approximately two months.

      The unopposed proposed schedule is set forth below, and a proposed amended case
management order is attached as Exhibit A.

                  Event                       Current Due Date           Proposed Due Date
   Plaintiffs’ Opening Expert Reports         September 13, 2024           October 4, 2024
 Defendants’ Responsive Expert Reports         October 21, 2024          December 13, 2024
   Plaintiffs’ Rebuttal Expert Reports        November 18, 2024           January 17, 2025
        Expert Discovery Cutoff               December 30, 2024           February 28, 2025
    Pre-Motion Letter for Summary              January 10, 2025            March 14, 2025
      Judgment Motions and Class
          Certification Motions


                                                    Respectfully submitted,

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